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            SUPREME COURT OF GEORGIA
            Case No. S21O0897


                                                         May 3, 2021


     The Honorable Supreme Court met pursuant to adjournment.

The following order was passed:

         L. LIN WOOD, JR. v. STATE BAR OF GEORGIA.

     As this is not one of the “extremely rare” instances in which it
would be appropriate for this Court to exercise its original
jurisdiction, see Gay v. Owens, 292 Ga. 480, 483 (738 SE2d 614)
(2013), this petition is dismissed.

     All the Justices concur.

                           SUPREME COURT OF THE STATE OF GEORGIA
                                      Clerk’s Office, Atlanta

                               I certify that the above is a true extract from the
                        minutes of the Supreme Court of Georgia.
                               Witness my signature and the seal of said court hereto
                        affixed the day and year last above written.



                                                                      , Clerk
